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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                    CASE NO.: 1:19-CV-25146

 ANDREW SCHARIN,

         Plaintiff,

 v.

 CELEBRITY CRUISES INC., a
 Foreign Profit Corporation,

       Defendant.
 __________________________________/

                AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

         Plaintiff sues Defendant and alleges:

                                PRELIMINARY ALLEGATIONS

      1. Plaintiff, ANDREW SCHARIN is a citizen of the state of California, over the age of

         eighteen years and is otherwise sui juris. At the time of the subject cruise the Plaintiff,

         ANDREW SCHARIN was a passenger on a Celebrity Cruises Inc.’s vessel, the Equinox.

      2. Defendant, CELEBRITY CRUISES INC. (“CELEBRITY”), is a Foreign Profit

         Corporation with its principal place of business in Miami, Florida.

      3. The matter in controversy exceeds, exclusive of interests and costs, the sum specified by

         28 U.S.C. § 1332. In the alternative, if diversity jurisdiction does not apply, then this

         matter falls under the admiralty and maritime jurisdiction of this Court.

      4. This action is being pursued in this Court, as opposed to state court as otherwise allowed

         by the Saving to Suitors Clause of 28 U.S.C. §1333 because CELEBRITY unilaterally

         inserts a forum clause into its cruise tickets that requires its passengers to file cruise-
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       related suits only in this Federal District and Division, as opposed to any other place in

       the world.

    5. Defendant, CELEBRITY at all times material hereto, personally or through an agent:

           a. Operated, conducted, engaged in or carried on a business venture in this state
              and/or county or had an office or agency in this state and/or county;

           b. Was engaged in substantial activity within this state;

           c. Operated vessels in the waters of this state;

           d. Committed one or more of the acts stated in Florida Statutes, § 48.081, §48.181 or
              §48.193;

           e. The acts of Defendant set out in this Complaint occurred in whole or in part in
              this county and/or state;

           f. The Defendant, as a common carrier, was engaged in the business of providing to
              the public and to the Plaintiff in particular, for compensation, vacation cruises
              aboard the vessel, Equinox.

    6. Defendant is subject to the jurisdiction of the Courts of this state.

    7. The causes of action asserted in this Complaint arise under the General Maritime Law of

       the United States.

    8. At all times material hereto, Defendant owned, operated, managed, maintained and/or

       controlled the vessel, Equinox.

    9. Defendant, CELEBRITY, at all relevant times, and for at least a decade prior to the

       incident complained of in this lawsuit, knew of the serious risk of crime and injury to its

       passengers aboard its vessels, because the Defendant, CELEBRITY had experienced and

       had actual knowledge of such crimes and injuries, perpetrated aboard its vessels both by

       crew and by other passengers. These crimes and injuries, upon information and belief,

       included but were not limited to, assaults and batteries and sexual crimes, and other

       violence between passengers and between passengers and crew.

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    10. Defendant, CELEBRITY further had experienced and had actual knowledge of

       passengers on their vessels being provided with or allowed to gain access to alcohol,

       when they were clearly intoxicated, and then becoming the assailants and assaulting and

       battering of other passengers perpetrated aboard said vessels.

    11. Defendant, CELEBRITY also knew, or should have known, from previous experience,

       that the risk of crime and injury against passengers aboard its vessels tended to be

       greatest when people were intoxicated and rowdy.

    12. Defendant, CELEBRITY, at all relevant times, and upon information and belief,

       anticipated and foresaw that crimes would be perpetrated on passengers aboard its vessels

       in the future, by passengers who were intoxicated.

    13. Defendant, CELEBRITY, at all relevant times, chooses to sell alcohol to passengers

       aboard its vessels. Upon information and belief, such beverage sales are among the top

       source of onboard revenue, which determines the profitability of each voyage. Upon

       further information and belief, Defendant CELEBRITY derives hundreds of millions of

       dollars in annual revenue from this source alone.

    14. Defendant, CELEBRITY knew, or should have known, that the high risk to its passengers

       of crime and injury aboard the vessels was enhanced by Defendant, CELEBRITY’s sale

       of copious quantities of alcohol on its vessels.

    15. Defendant, CELEBRITY knew, or should have known of the need to prevent intoxicated

       passengers from being provided with or allowed to gain access to alcohol.

    16. Defendant, CELEBRITY, at all relevant times, advertises and markets its cruises and

       vessels in a way calculated to induce prospective cruisers to sail on its vessels. In doing

       so, Defendant, CELEBRITY deliberately emphasized the positives of its cruises and



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       vessels, almost to the exclusion of any negatives, such as the risk of crime and injury

       aboard its vessels, which was well-known to Defendant, CELEBRITY at all relevant

       times. As a consequence, prospective passengers did not receive sufficient information

       from Defendant, CELEBRITY to make fully informed decisions to book a cruise, and/or

       to fully comprehend the need to take precaution for their own safety while aboard its

       vessels.

    17. Instances of assaults occur aboard Defendant’s vessels at an alarming rate.            Yet

       Defendant, CELEBRITY fails to take adequate steps or provide adequate security to

       prevent such assaults and fails to warn its passengers of the growing epidemic of assault

       at sea. CELEBRITY’s motive for failing to warn its passengers is financial in nature;

       that is, CELEBRITY willfully chooses not to warn its passengers about assaults aboard

       its ships so as not to scare any prospective passengers away.

    18. At the time of booking, and at all other relevant times, the Plaintiff, saw, read, heard

       about, and relied upon the aforementioned superlative information disseminated to the

       public by the Defendant, CELEBRITY regarding the cruise experience aboard its vessels,

       from which the Defendant, CELEBRITY deliberately omitted any mention of a general

       risk of harm to passengers, aboard its vessels.

    19. At the time of booking, and at all other relevant times, the Plaintiff, was made aware of,

       in any reasonable fashion, of the risks and/or of prior occurrences of crime aboard

       Defendant, CELEBRITY’s vessels; and he therefore was otherwise unaware of any need

       to rethink going on the cruise and/or to take any special precautions to protect himself.

    20. On or about December 29, 2018, Plaintiff, ANDREW SCHARIN boarded the vessel with

       his wife for a seven-day cruise to celebrate the Christmas holiday and New Year.



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    21. At all relevant times Plaintiff, ANDREW SCHARIN was a fare paying passenger and

       lawfully aboard the vessel.

    22. On or about the evening of December 31, 2018, while in a public lounge and other public

       areas aboard the vessel, several adult male passengers, purchased multiple alcoholic

       beverages and became highly intoxicated.          Employees of CELEBRITY CRUISES

       continued to serve these intoxicated passengers, in plain view of multiple crewmembers

       who saw or should have seen it. These public lounges and other public areas were also

       under surveillance by the ship’s security cameras and personnel.            Neither the

       crewmembers present on the scene nor did those who were watching or supposed to be

       watching the surveillance cameras take any action to prevent the continued service of

       alcohol to the intoxicated passengers.

    23. In view of multiple crewmembers and still under surveillance by the ship’s security

       cameras, these adult male passengers, who were obviously drunk, disoriented and not

       stable, assaulted the Plaintiff, ANDREW SCHARIN outside his cabin.

    24. Neither the crewmembers present on the scene nor did those who were watching or

       supposed to be watching the surveillance cameras take any action to assist the Plaintiff,

       ANDREW SCHARIN, stop the assault as he was beaten and assaulted.

                                     CAUSES OF ACTION

                                 COUNT I
                 NEGLIGENCE AGAINST CELEBRITY FOR ASSAULT

       Plaintiff realleges, adopts and incorporates by reference the allegations in paragraphs 1

       through 24 as though alleged originally herein.




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    25. At all times material hereto, it was the duty of Defendant CELEBRITY to provide the

       Plaintiff, ANDREW SCHARIN with reasonable care under the circumstances while he

       was a passenger aboard the Equinox.

    26. On or about December 31, 2018, the Plaintiff, ANDREW SCHARIN was injured due to

       the fault and negligence of Defendant, CELEBRITY, and/or its agents, servants and/or

       employees as follows:

          a. Failing to provide reasonably safe conditions for Plaintiff, ANDREW SCHARIN,
             aboard Defendant’s vessel. Said safe conditions include, but are not limited to, the
             prevention of permitting an atmosphere to exist wherein persons could assault
             passengers;

          b. Failing to adequately monitor the public areas;

          c. Failing to adequately monitor passengers;

          d. Failing to provide adequate security aboard the vessel;

          e. Failing to warn passengers of the dangers of assaults aboard Defendant’s ships;

          f. Failing to warn passengers of the prevalence of assaults aboard Defendant’s ships;

          g. Failing to adequately monitor and control the conduct of passengers aboard the
             vessel;

          h. Failing to protect passengers, especially minors, from sexual assaults, physical
             batteries and/or rapes by other passengers;

          i. Failing to promulgate and/or enforce adequate policies and/or procedures to
             prevent assaults on passengers aboard Defendant’s ships;

          j. Failing to provide adequate training for its crewmembers;

          k. Failing to adequately monitor passengers, so as to keep them away from
             dangerous passengers and/or dangerous situations;

          l. Failing to promulgate and/or enforce adequate policies and/or procedures to
             prevent alcohol being served to intoxicated and/or rowdy passengers;

          m. Failing to exercise reasonable care for the safety of its passengers, and by creating
             a dangerous condition by refusing to intervene to prevent the service of alcohol to

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              rowdy and intoxicated passengers, when a reasonable and prudent crewmember
              would have taken action;

          n. Violating the International Safety Management Code by failing to have an
             adequate Safety Management System Manual and/or by failing to adequately
             implement and follow the Safety Management System Manual they have, as it
             related to protecting passengers from assault and aboard Defendant’s ships and
             service of alcoholic beverages to intoxicated and rowdy passengers, all of which
             caused the Plaintiff to be injured;

          o. In other manners not yet known, but which are expected to be revealed in
             discovery.

    27. As a direct and proximate result of the negligence of Defendant, CELEBRITY, the

       Plaintiff, ANDREW SCHARIN, was directly and proximately caused to be assaulted

       and/or physically battered by other passengers and suffered severe emotional distress.

    28. As a result of the foregoing, the Plaintiff, ANDREW SCHARIN, was injured about his

       body and extremities, pain and suffering; mental anguish; inconvenience; great shame,

       psychological trauma, psychological scarring, embarrassment, humiliation, aggravation

       of preexisting conditions, the loss of the capacity for the enjoyment of life; and other

       mental and/or nervous disorders, and has incurred medical expenses in the past and will

       incur medical expenses in the future. The injuries are permanent and/or continuing in

       nature and he will suffer losses and impairments in the future. Further, Plaintiff lost the

       value of his vacation cruise.

              WHEREFORE, Plaintiff, ANDREW SCHARIN, demands judgment for all

       damages recoverable under the law against the Defendant and demands trial by jury.

              DATED THIS 8th DAY OF JANUARY, 2020.

                                                    By:/s/ David F. Baron
                                                      David F. Baron, Esquire




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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been electronically

   served to all counsel or parties on record on this 8th day of January, 2020.

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